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 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
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11   PERSIAN GULF INC.,                            Case No.: 15-cv-01749-L-AGS
                          Plaintiff,
12   v.                                            CLASS ACTION
13   BP WEST COAST PRODUCTS LLC,
     et al.,                                       ORDER COORDINATING
14                      Defendants.                ACTIONS FOR PRE-TRIAL
15                                                 PROCEEDINGS

16
     RICHARD BARTLETT et al.,                   Lead Case No. 18-cv-01374-L-AGS
17                                              (consolidated with No. 18-cv-01377-
18                                  Plaintiffs, L-AGS)
            v.
19                                             CLASS ACTION

20 BP WEST COAST PRODUCTS                      ORDER COORDINATING
   LLC et al.,
21                                             ACTIONS FOR PRE-TRIAL
                      Defendants.
                                               PROCEEDINGS
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23
24        Pending before the Court are class action complaints filed in cases no.
25 15cv1749, 18cv1374 and 18cv1877. Case no. 15cv1749 is a putative class action on
26 behalf of gasoline merchants in California, who purchased gasoline directly from
27 Defendant gasoline refineries (the "Direct Purchaser Action"). Cases no. 18cv1374
28 and 18cv1377, which have been consolidated for all pre-trial proceedings, are
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 1 putative class actions filed by consumers against essentially the same Defendants (the
 2 "Consumer Actions"). The factual allegations and the named Defendants in these
 3 actions are nearly identical. All three actions include claims for violation of the
 4 Cartwright Act, Cal. Bus. & Prof. Code § 16700 et seq., and the Unfair Competition
 5 Law, Cal. Bus. & Prof. Code § 17200 et seq.
 6      On July 26, 2018, the Court issued an Order to Show Cause why the Direct

 7 Purchaser Action and the Consumer Actions should not be coordinated for pre-trial
 8 purposes pursuant to Federal Rule of Civil Procedure 42(a). Plaintiff in the Direct
 9 Purchaser Action timely filed a response of no objection to coordination, subject to
10 limited qualifications, suggesting ways in which proceedings could be coordinated,
11 and indicating agreement of all parties. Defendants filed a notice of non-opposition.
12       Accordingly, the Direct Purchaser Action and the Consumer Actions shall be

13 coordinated for discovery and other pre-trial purposes to avoid unnecessary cost and
14 delay. Coordinating the actions may entail discovery, case management and motion
15 briefing, as appropriate. The parties shall forthwith contact the assigned Magistrate
16 Judge to set a joint conference in furtherance of coordinating the actions.
17        IT IS SO ORDERED.
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     Dated: August 8, 2018
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